    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23     Page 1 of 41




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 RING STREET, LLC                                 CIVIL ACTION NO.:

                PLAINTIFF,

 VERSUS                                           JUDGE:

 CYPRESS CONNECTS LLC,
 CHRISTOPHER BEACHER, AND
 STUART SAUBER,                                   MAGISTRATE:

                DEFENDANTS



          VERIFIED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF


        This civil action brought by Plaintiff, Ring Street, LLC (“Ring Street”), arises out of the

misappropriation of its confidential information and trade secrets by Defendants Cypress Connects

LLC (“Cypress Connects”), Christopher Beacher, and Stuart Sauber. Ring Street seeks damages

and injunctive relief under the Defend Trade Secrets Act, 18 U.S.C. § 1125 et seq., the Louisiana

Uniform Trade Secrets Act, La. R.S. 51:1431 et seq., the Louisiana Unfair Trade Practice Act, La.

R.S. 51:1401 et seq., the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq., and for

breaches of fiduciary duty, conversion, civil conspiracy, and unjust enrichment.

                                PRELIMINARY STATEMENT

        Ring Street unknowingly had two foxes in its henhouse. Two of its former trusted

employees—who had access to Ring Street’s entire computer network and were entrusted with the

responsibility of maintaining it—misappropriated Ring Street’s confidential information and trade

secrets. They used their sophisticated knowledge of computing systems to steal Ring Street’s
                                              1


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23     Page 2 of 41




protected information, while hiding their tracks, all in order to start a direct competitor—Cypress

Connects—and strategically poach Ring Street’s customers. Importantly, this is not a case of

former employees merely preparing to compete and then executing on a plan, post-separation, to

lawfully do so. Rather, this is case where two former employees used deceit to mislead their

employer and, separately, exploited their positions of trust to transfer volumes of protected

information, all in an effort to minimize start-up costs and maximize profits at their new venture.

                                            PARTIES

                                                1.

        Ring Street is a Louisiana company that maintains its principle place of business at 202 N.

I-10 Service Road E., Metairie, LA, 70005, and is registered to do business in Louisiana.

                                                2.

        Cypress Connects is a Louisiana company that maintains its principle place of business at

401 Veterans Blvd., Suite 103, Metairie, Louisiana, 7005, and is registered to do business in

Louisiana. The registered agent for Cypress Connects is SMD Law, 935 Gravier Street, Suite 1250,

New Orleans, LA, 70112.

                                                3.

        Christopher Beacher is an individual who is domiciled and resides in New Orleans,

Louisiana. He is also member-owner of Cypress Connects.

                                                4.
        Stuart Sauber is an individual who is domiciled and resides in Louisiana who is a member-

owner of Cypress Connects.



                                JURISDICTION AND VENUE
                                                 2


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                     Document 1          Filed 05/03/23         Page 3 of 41




                                                        5.

        Jurisdiction is proper under 28 U.S.C. § 1331. The Court also has jurisdiction over Ring

Street’s state laws claim under 28 U.S.C. § 1367.

                                                        6.

        Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the events

giving rise to this litigation occurred in the jurisdiction of the Eastern District of Louisiana.

                                                    FACTS1

                Ring Street’s Business, Mr. Sauber and Mr. Beacher’s Employment,
                      and their Accesses to Ring Street’s Computing Systems

                                                        7.

        Ring Street provides managed VoIP and IT services that allow small to medium-sized

businesses the functionality of a large corporate office without buying and maintaining the

hardware or owning the logistics to keep it running and up-to-date. Ring Street provides everything

its clients need for sophisticated phone and IT service, and is on-call twenty-four hours a day,

seven days a week, to make certain its clients’ communications systems are functioning correctly.

                                                        8.

        Many of Ring Street’s customers retain Ring Street to provide both phone and IT service,

while other customers use Ring Street for only one line of service—phone or IT service.




        1
           The factual allegations contained herein have been verified under oath by either Ring Street’s President,
Matthew O’Connor, or the third-party forensic expert that Ring Street has retained, Michael Saunders. Mr. O’Connor
and Mr. Saunders’ verifications are attached hereto as Exhibits 1 and 2. Mr. Saunders’ CV is attached hereto as
Exhibit 3.

                                                         3


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23      Page 4 of 41




                                                9.
        Ring Street formerly employed Defendant Christopher Beacher and Defendant Stuart

Sauber.

                                               10.
        Ring Street hired Mr. Beacher on August 20, 2019, as a Phone Technician, and his job

duties included: answering customer calls; soliciting new business; programming and/or installing

phones that Ring Street provided to customers; maintaining and servicing equipment provided to

Ring Street’s customers. His job responsibilities focused on the phone services line of business.

                                               11.
        To perform his job duties as a Phone Technician, Ring Street gave Mr. Beacher access to

its computer systems, on which Ring Street stores its confidential information and trade secrets.

                                               12.
        This access included Ring Street’s: Office 365 platform; SharePoint platform; One Drive;

shared drives; phone system portal, referred to as Yealink Management Cloud Service (“YMCS”);

as well as “Keeper Security,” a data repository that protects and stores credentials for customers,

vendors, and internal operations.

                                               13.

        Ring Street hired Mr. Sauber on March 9, 2020, as its Information and Technologies

Director, and his job duties included: managing and coordinating the entire IT department staff;

managing Ring Street’s network and all of its IT services; coordinating customer projects,

including managing and implementing customers’ IT services; and developing customers’ IT

policies and procedures.


                                                4


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23      Page 5 of 41




                                               14.

        Mr. Beacher’s job responsibilities focused on the phone services component of Ring

Street’s business.


                                               15.

        As IT Director, Mr. Sauber was responsible for developing and maintaining Ring Street’s

own internal network, email, file storage, and data transfer systems, as well as servicing Ring

Street’s customers’ IT needs.


                                               16.

        To perform his job duties as IT Director, Ring Street likewise gave Mr. Sauber access to

its computer systems, on which Ring Street stores its confidential information and trade secrets.


         Ring Street’s Computing Systems and the Protected Information Stored on it

                                               17.

        Ring Street’s computer systems include, for instance, its SharePoint platform and Office

365 platform, both of which contain customer pricing information, customer lists and contact

information, customer renewal date information, customer contracts, customer invoices, historical

sales and revenue data, as well as company-wide and customer-specific profit and loss data.


                                               18.

        As other examples, Ring Street’s systems include its YMCS platform, which contains

highly particularized and specific information about customers’ service and equipment needs, as

well as “Keeper Security,” which houses confidential credentials necessary to maintain services

for Ring Street’s internal operations and for its vendors and customers.

                                                5


#101200336v20
    Case 2:23-cv-01486-BWA-MBN              Document 1       Filed 05/03/23      Page 6 of 41




                                                19.

        These computing systems, which were to be used only for legitimate business purposes,

and the confidential and proprietary information stored on them (whether it be discrete pieces of

information or the universe of information as a whole) give Ring Street an advantage over its

competitors, and this confidential and proprietary information was created, developed, and/or

compiled over the course of many years, requiring considerable time and expense.


                                                20.

        Access to these aspects of Ring Street’s computing systems is provided to Ring Street

employees on a need-to-know basis, and, in many instances, are password protected. Ring Street’s

employees—including Mr. Beacher and Mr. Sauber—are instructed, consistent with basic

common sense, to use Ring Street’s computing systems only for Ring Street’s benefit and to keep

confidential the sensitive information they house.


                                                21.

        During the course of their employment with Ring Street, Mr. Beacher and Mr. Sauber

received access to confidential business information and trade secrets to perform work for

customers throughout Louisiana (for IT services) and the United States (for phone services),

including access to the foregoing computing systems and information on them regarding: (a) Ring

Street’s products, services, finances, marketing plans, suppliers, customers, strategic plans, price

quotations to customers, methods of service, and actual pricing that Ring Street charged certain

customers for various goods and services; (b) the content of existing contracts that Ring Street has

with its customers; (c) quotes to customers (which contained not only the pricing but also the

identities and contact information for those persons employed by customers who make decisions
                                                 6


#101200336v20
    Case 2:23-cv-01486-BWA-MBN              Document 1        Filed 05/03/23      Page 7 of 41




on whether to enter into contracts with Ring Street); (d) details regarding a customer’s needs and

specifications; and (e) the identities of the vendors that Ring Street has located and used over the

years to provide the type and quality of products and services needed to timely and sufficiently

fulfill obligations to customers.

      Unexpected Departures, Unlawful Competition, and a Preliminary Internal Audit
                               of Computing Misconduct

                                                 22.

        Mr. Beacher unexpectedly gave his two weeks’ notice to Ring Street on or around November

9, 2022, and his last day of employment with Ring Street was November 23, 2022.

                                                 23.

         At the time of his resignation, Mr. Beacher told Ring Street that he did not know his future

employment plans, and he stated that he wanted to do some traveling and then figure out what he

wanted to do about his career.

                                                 24.

        Mr. Sauber likewise unexpectedly announced his intent to resign in early December, offering

to stay on for an additional two weeks.

                                                 25.

        Unlike Mr. Beacher, however, when Mr. Sauber provided his two weeks’ notice, he told

Ring Street that he planned to transition customers and vendors to a new company that he intended

to create.




                                                  7


#101200336v20
      Case 2:23-cv-01486-BWA-MBN                   Document 1   Filed 05/03/23    Page 8 of 41




                                                      26.

        Mr. Sauber memorialized his plans in a document he provided to Ring Street titled “Stuart

Transition Plan,” wherein he set forth his plans to start a “new company” whose name he claimed

was still “to be determined.”

                                                      27.

         The “Stuart Transition Plan” document sets forth a plan to, during Mr. Sauber’s proposed

two weeks’ notice period, seamlessly transfer customers whom he had serviced as a Ring Street

employee to his new entity, while using Ring Street’s resources and confidential information to do

so.

                                                      28.

        Mr. Sauber even went so far as to compile a list of Ring Street’s customers whom he

apparently believed he was entitled to divert to his new entity, using the intimate knowledge of those

customers’ needs that he had gained through his status as a Ring Street employee. A true and correct

copy of the “Stuart Transition Plan” document, together with the referenced customer list, is attached

hereto as Exhibit 4.2




        2
            The names of customers are redacted.

                                                      8


#101200336v20
     Case 2:23-cv-01486-BWA-MBN                     Document 1           Filed 05/03/23          Page 9 of 41




                                                          29.

         After being provided with the “Stuart Transition Plan” document on December 7, 2022,

Ring Street terminated Mr. Sauber’s employment, and his last day with Ring Street was Friday,

December 9, 2022.

                                                          30.

         Ring Street has since learned that Mr. Beacher and Mr. Sauber collaborated in secret long

before their resignations to jointly create a direct competitor, Cypress Connects, as that new entity’s

co-owners and members.

                                                          31.

         Indeed, Ring Street discovered during an internal audit of its computer systems that, on

October 13, 2022, the domain name that Cypress Connects uses for its business—

www.cypressconnects.com—was secretly purchased by Mr. Sauber while he was still employed by

Ring Street.3

                                                          32.

         It is therefore clear that Mr. Sauber intentionally misled Ring Street when he claimed in early

December—verbally and in writing—that he did not yet know the name of the entity through which

he intended to compete against Ring Street.




         3
          A Louisiana Secretary of State filing indicates that Cypress Connects filed to become a Louisiana company
on Monday, December 12, 2022, i.e. the first business day after Mr. Sauber’s separation. In addition to what is included
in the body of the Complaint, Ring Street’s internal audit also uncovered the following facts: Cypress Connects
SharePoint was accessed on Ring Street company equipment on November 6, 2022; the company telephone number for
Cypress Connects was setup on or before November 21, 2022; and the Office 365 account for Cypress Connects was
accessed on November 28, 2022.

                                                           9


#101200336v20
    Case 2:23-cv-01486-BWA-MBN               Document 1        Filed 05/03/23      Page 10 of 41




                                                  33.

        On or around the same day as Mr. Sauber’s separation—alarmed by Mr. Sauber’s stated

intentions as set forth in the “Stuart Transition Plan” document—Ring Street provided Mr. Sauber

with a cease and desist letter that instructed him not to retain or use its confidential information and

trade secrets, to return any such information in his possession, and not to interfere with Ring Street’s

customer relationships through exploitation of such information.

                                                  34.

        Mr. Sauber ignored Ring Street’s cease and desist letter and offered no response; at that time,

however, Ring Street was unaware of any suspicious computing activity, described infra, that Mr.

Sauber and Mr. Beacher secretly undertook and/or took steps to conceal.

                                                  35.

        In March of 2023, around three months after their resignations, Ring Street began to notice,

for the first time, suspicious unauthorized computing activity related to Mr. Beacher and Mr.

Sauber—activity that they had secretly taken and even took active steps to conceal.

                                                  36.

        Ring Street promptly initiated an internal audit of its computer systems to determine

whether—and to what extent—any unlawful conduct had occurred or was ongoing.

                                                  37.

        During this early internal audit, Ring Street learned that, while Mr. Sauber was still a Ring

Street employee, and just days before his eventual separation, he secretly shared confidential Ring

Street data with Mr. Beacher through Mr. Beacher’s new Cypress Connects email address:




                                                  10


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23      Page 11 of 41




                                                38.

        Given this early collaboration on Cypress Connects, it appears that Mr. Beacher also misled

Ring Street when he claimed, at the time he announced his intent to resign, that he did not know his

future employment plans.

                                                39.

        Ring Street’s early internal audit revealed that the night before his separation, Mr. Sauber

secretly exported volumes of records housed in “Keeper Security”—which, again, contains

credentials to access Ring Street’s key internal, customer, and vendor accounts—to a .csv file.




                                                11


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                     Document 1         Filed 05/03/23       Page 12 of 41




                                                        40.

           Ring Street also learned during its early internal audit that Mr. Sauber and Mr. Beacher were

secretly accessing, without authorization, Ring Street’s computing systems even though they were

no longer employed (in fact, it was this clandestine log-in activity, which Ring Street discovered,

that triggered its internal audit).

                                                        41.

           The day after his separation, for example, Mr. Sauber deleted, without authorization, nine

or more records on his “Keeper Security” portal, including records related to Cypress Connects.4

                                                        42.

           Ring Street’s early internal audit of its computer systems further demonstrated that Mr.

Sauber accessed Ring Street’s “Keeper Security” platform dozens of times on the day his

employment was terminated.

                                                        43.

           Potentially more troubling, Ring Street uncovered that Mr. Beacher has secretly accessed its

YMCS platform, without authorization, at least four times since his separation, including on

December 7, 2022; February 1, 2023; February 24, 2023; and March 17, 2023.

                                                        44.

           Ring Street’s YMCS platform is highly important in this context: it can function as a de

facto customer list, as it contains information on Ring Street’s existing customers, which is




           4
               Furthermore, on December 7, 2022, Mr. Sauber deleted the “Keeper Security” user profile for Chris
Beacher.

                                                         12


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23      Page 13 of 41




constantly being updated as Ring Street adds new customers to the YMCS platform in the ordinary

course of business.

                                                45.

        Ring Street has since learned that Mr. Beacher, while surreptitiously snooping in its YMCS

platform, accessed data related to customers that have ceased doing business with Ring Street

(including one customer who had been with Ring Street for over a year) in order to transfer their

business to Cypress Connects.

                                                 46.

        Through Ring Street’s YMCS platform, Mr. Beacher is easily able to copy and paste device

configurations back-up logs containing configuration data for each of Ring Street’s customers,

which, in turn, enables Cypress Connects to replicate customers’ existing phone systems without

having to carry out much of its own leg work.

                  Ring Street Quickly Suffers Large and Unexpected Losses

                                                 47.

        Following their separations and as Ring Street was performing its internal audit, Mr. Beacher

and Mr. Sauber had begun to perform the same job duties and services on behalf of Cypress

Connects—while in possession of and accessing Ring Street’s confidential information and trade

secrets—that they provided while employed by Ring Street.

                                                 48.

         As Ring Street began to uncover evidence of Mr. Beacher and Mr. Sauber’s wrongdoing,

and shortly after their apparent coordinated resignations, Ring Street began losing customers to

Cypress Connects with whom it had long-standing service relationships.

                                                 13


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23    Page 14 of 41




                                                49.

        Ring Street reasonably expected that these customers would continue to renew their business

with Ring Street based on service history and the lack of any meaningful customer complaints.

                                                50.

        Specifically, Ring Street lost approximately $510,000.00 in annual revenue in just the six-

month period following Mr. Beacher and Mr. Sauber’s coordinated and abrupt separations.

                                                51.

        To date, Ring Street has lost approximately thirty-five customers to Cypress Connects since

Mr. Beacher and Mr. Sauber’s separations, including more than half of Ring Street’s customers for

whom it provided IT services with the assistance of Mr. Sauber.

                                                52.

        Ring Street learned from some of its then-former customers that they left (or were leaving)

Ring Street in order to bring their business to Cypress Connects.

                                                53.

        Many IT customers that unexpectedly stopped doing business with Ring Street received

emails from Cypress Connects asking them to transition services away from Ring Street, and phone

customers sent similarly worded cancellation emails providing 30 days’ notice and expressing an

understanding that certain equipment would be returned to Ring Street.

                                                54.

        Further, it is uncommon for customers to be unilaterally aware of Ring Street’s 30-day

contractual notice provision, and it is also uncommon for customers to raise on their own the issue




                                                14


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23   Page 15 of 41




of returning Ring Street’s equipment (with many customers believing that such equipment belongs

to them).

                Ring Street’s Forensic Examinations Uncovers More Evidence of
                                 Egregious Unethical Conduct

                                                55.

        Ring Street—further alarmed by the success rate and speed with which Cypress Connects

was poaching its customer-base—hired a third-party forensic examiner to uncover the extent to

which Cypress Connects (acting through Mr. Beacher and Mr. Sauber) engaged in unfair competition

to grow its business at an otherwise unattainable speed and success rate.

                                                56.

        During the course of its investigation, Ring Street discovered that Mr. Beacher had been

routinely accessing its YMCS platform, while Mr. Sauber had accessed his “Keeper Security,” after

their separations without Ring Street’s express or implied authorization.

                                                57.

        Mr. Beacher and Mr. Sauber did not have permission to secretly access these applications

following their resignations, and they did not have permission to secretly access these computing

tools in order to establish a direct competitor, misappropriate information, and poach Ring

Street’s customers for their own and Cypress Connects’ benefit.

                                                58.

        Discovery of Mr. Beacher and Mr. Sauber’s clandestine, unauthorized access of “Keeper

Security” and the YMCS platform prompted Ring Street to do the following: delete Mr. Beacher and

Mr. Sauber’s access credentials; further forensically investigate whether Mr. Beacher and Mr.


                                                 15


#101200336v20
    Case 2:23-cv-01486-BWA-MBN              Document 1       Filed 05/03/23      Page 16 of 41




Sauber engaged in other unlawful conduct; and, once sufficient evidence was uncovered, to file this

lawsuit seeking damages and emergency injunctive relief to protect its stolen information.

                                                59.

        While Ring Street’s third-party forensic examination remains ongoing, it has already

confirmed that Mr. Beacher and Mr. Sauber transferred large amounts of its confidential information

and trade secrets to personal devices and/or accounts shortly before their separations, including

through use of capabilities that Ring Street was not aware Mr. Sauber had created on its computing

systems.

                                                60.

        The third-party forensic examination has revealed that Mr. Sauber—on the day before he

provided Ring Street with the “Stuart Transition Plan” document and the day after he did so—

plugged in several different external storage devices into his Ring Street computer:

                   A Lexar USB Flash Drive (SN AA6SDCC6IPZDTNT1) was used on
                    December 6, 2022;

                   A PNY USB 2.0 FD flash drive (SN 071319EA27745A61)) was used
                    on December 6, 2022;

                   A     USB       SanDisk    3.2Gen1     flash  drive   (SN
                    0401f5802779bfd1de2519273fce74eafbe4e8142a2e4d6e98d99d34a
                    c3ff20292d700000000000000000000f6c7917100050918815581078
                    e288eef) was used on December 6, 2022.

                   PNY USB 2.0FD flash drive (SN 071319EA28535627) was used on
                    December 8, 2022.




                                                 16


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                     Document 1           Filed 05/03/23         Page 17 of 41




                                                         61.

           None of these external storage devices were returned to Ring Street when Mr. Sauber’s

employment was terminated, nor has Ring Street been able to locate any of them in its offices

where Mr. Sauber worked.5

                                                         62.

           In the 90 minute period before the Lexar USB Flash Drive (SN AA6SDCC6IPZDTNT1)

device was plugged into Mr. Sauber’s work computer on December 6, 2022, he accessed the

following files and folders, many of which contain Ring Street’s confidential information and trade

secrets:

                        File                    C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:58    Opened/Accessed         Ringstreet\Knowledge Base Videos\Create New User (DC).mp4

                        File                    C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:58    Opened/Accessed         Ringstreet\Knowledge Base Videos

                                                C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
                        File                    Ringstreet\Knowledge Base Videos\Revoke A license from Cloud
     12/6/2022 14:56    Opened/Accessed         User.mp4

                        File                    C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:44    Opened/Accessed         Ringstreet\WhatsOnThisJumpDrive.xlsx

                        File                    C:\Users\ssauber\OneDrive - Ring Street LLC\Managed
     12/6/2022 14:11    Opened/Accessed         Services.docx

                        File                    C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:10    Opened/Accessed         Ringstreet\Clients\MBIA




           5
            At least 6 other USB devices were plugged into Mr. Sauber’s work computer between August 2022 and
December 2022. None of those devices have been returned. The foregoing allegation focuses on the 4 external storage
devices that were plugged into Mr. Sauber’s work computer between December 6, 2022 and December 8, 2022, i.e.
just days before his separation. Additional forensic analysis is required considering the evidence demonstrate that Mr.
Sauber obtained the domain name for Cypress Connects on October 13, 2022, thereby prolonging the period of interest
related to suspicious activity.

                                                         17


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                   Document 1         Filed 05/03/23        Page 18 of 41



                                              C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:10     File Modified        Ringstreet\Clients\MBIA

                         File                 C:\Users\ssauber\OneDrive - Ring Street
     12/6/2022 14:10     Opened/Accessed      LLC\Documents\Extension List_.xlsx

                         File                 C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     12/6/2022 14:10     Opened/Accessed      Ringstreet\Clients\MBIA\MBIA Extension List_.xlsx

                         File                 C:\Users\ssauber\OneDrive - Ring Street LLC\Documents\Ernest
     12/6/2022 14:08     Opened/Accessed      Service Pricing.xlsx

                         File                 C:\Users\ssauber\OneDrive - Ring Street
     12/6/2022 14:08     Opened/Accessed      LLC\Documents\EN_RICHARD_WHALEY_102821084601.docx

                         File                 C:\Users\ssauber\OneDrive - Ring Street LLC\Documents\RS
     12/6/2022 14:07     Opened/Accessed      Current Service Pricing.xlsx

                         File                 C:\Users\ssauber\OneDrive - Ring Street LLC\Documents\RS
     12/6/2022 14:06     Opened/Accessed      Service Pricing 2022 (TEMPLATE).xlsx


                                                       63.

        Right after he plugged in a PNY USB 2.0 FD flash drive (SN071319EA28535627) to his

Ring Street work computer, Mr. Sauber accessed, opened, and/or modified data in the following files

and folders, some of which include Ring Street’s confidential information and trade secrets:

                File
 12/6/2022      Opened/Acce     C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      ssed            Firmware
 12/6/2022                      C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      File Modified   Firmware
                File
 12/6/2022      Opened/Acce     C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      ssed            Firmware\sw_nsa-3600__eng_6.5.4.10-95n.sig
 12/6/2022                      C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      File Modified   Firmware
                File
 12/6/2022      Opened/Acce     C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      ssed            Firmware
 12/6/2022      Directory       Shared Documents Folder (Users Files)\OneDrive - Ring Street LLC\Documents -
     18:23      Created         Ringstreet\Sonicwall Firmware
 12/6/2022                      C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      File Created    Firmware
 12/6/2022                      C:\Users\ssauber\OneDrive - Ring Street LLC\Documents - Ringstreet\Sonicwall
     18:23      File Created    Firmware

                                                       18


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                   Document 1          Filed 05/03/23          Page 19 of 41



                File
 12/6/2022      Opened/Acce   C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     18:05      ssed          Ringstreet\Clients\PriorityFloors\!General Info, logins, etc.doc
                File
 12/6/2022      Opened/Acce   C:\Users\ssauber\OneDrive - Ring Street LLC\Documents -
     18:05      ssed          Ringstreet\Clients\PriorityFloors

                                                       64.

        And in the nine days preceding his separation, during which Mr. Sauber could have been

(and, based on the timing and circumstances, appears likely to have been)transferring data to

external storage devices and/or accounts, Mr. Sauber accessed the following files on a One Drive

Account, including customer and contact lists and customer contracts:

                 TTT_The-IT-Partner-Agreement.docx

                 AdeptCloud.pdf

                 What can Matt do.docx

                 EDGE_CIS_RAM_for_IG1_Workbook_v21.10.27.xlsx

                 Stuart Transition Plan.docx

                 Standard Client Setup.xlsx

                 PHI Device Destruction v1.0.xlsx

                 Keeper Invoice T4KJI-075898403.pdf

                 invoice-35664284.pdf

                 Contract and SLA Worksheet.xlsx

                 2022 DR checklist.xlsx

                 Syncro monthly recurring invoicing 2022(3).xlsx

                 RingStreet_INV02779705_2022-Aug-08.pdf

                 RingStreet_INV02817591_2022-Sep-08.pdf
                                                       19


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                    Document 1           Filed 05/03/23           Page 20 of 41




                 RingStreet_INV02854716_2022-Oct-08.pdf

                 RingStreet_INV02891921_2022-Nov-08.pdf

                 Customer Contracts.xlsx

                 contacts.xlsx

                                                        65.

        A third-party forensic examination of the Ring Street computer issued to Mr. Beacher has

likewise yielded similarly troubling findings.

                                                        66.

        On his last day of employment (at the end of his two-week notice period) with Ring Street,

Mr.     Beacher       plugged      in    a      Kingston       DataTraveler       3.0    USB       Device   (SN

50E549C3443AB031C9BDEEB5) that has not been returned and that Ring Street has been unable

to locate.

                                                        67.

        In the hour or so after Mr. Beacher plugged in this device, he accessed, opened, and/or

modified data—and created files—from the following files and folders, many of which contain

Ring Street’s confidential information and trade secrets:

             11/23/2022 18:48   Disconnect

             11/23/2022 18:45   File Opened/Accessed          E:\RS FIrefox\bookmarks-2022-11-23.json

             11/23/2022 18:41   File Opened/Accessed          E:\Chrome Passwords 11-22.csv

             11/23/2022 18:41   File Modified                 E:\New folder

             11/23/2022 18:27   File Opened/Accessed          E:\Legacy Investment Strategies

             11/23/2022 18:27   Directory Interaction         My Computer\E:\Legacy Investment Strategies




                                                        20


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                  Document 1           Filed 05/03/23           Page 21 of 41



                                                            E:\Legacy Investment Strategies\Quotation 40-
           11/23/2022 18:27   File Opened/Accessed          1.pdf

           11/23/2022 18:26   File Created                  E:\Legacy Investment Strategies

                                                            C:\Users\cbeacher\Downloads\Vendors
           11/23/2022 18:21   File Opened/Accessed          Login.xlsx

                                                            My Computer\Documents\Custom Office
           11/23/2022 18:19   Directory Interaction         Templates

                                                            C:\Users\cbeacher\Downloads\Vendors
           11/23/2022 18:18   File Created                  Login.xlsx

           11/23/2022 18:05   File Opened/Accessed          C:\Users\cbeacher\Downloads\logins.csv

           11/23/2022 18:03   Directory Interaction         My Computer\Z:\ADConnect

                                                            My Computer\Z:\ND\NetworkDetective-
           11/23/2022 18:03   Directory Interaction         ringstreet.local-20200504.zip

                                                            Z:\ND\NetworkDetective-ringstreet.local-
           11/23/2022 18:03   File Opened/Accessed          20200504.zip

           11/23/2022 18:03   Directory Interaction         My Computer\Z:\Quickbooks\2012

           11/23/2022 18:03   Directory Interaction         My Computer\Z:\Quickbooks\2016

           11/23/2022 18:03   Directory Interaction         My Computer\Z:\Quickbooks\2021

           11/23/2022 17:54   Directory Interaction         My Computer\Z:\DRAGON

           11/23/2022 17:54   Directory Interaction         My Computer\Z:\Brother

                                                            My Computer\S:\Ring
           11/23/2022 17:50   Directory Interaction         Street\Customers\Zeas\Zea Lafayette

           11/23/2022 17:49   Directory Interaction         E:\Screenshot\Mid City PT + Wellness




                                                      68.

        Forensic analysis of Mr. Beacher’s computer shows that he also plugged in two other

external storage devices into his Ring Street work computer on October 14, 2022, which was the

day after Mr. Sauber obtained (unbeknownst to Ring Street) the domain name for Cypress

                                                      21


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                Document 1   Filed 05/03/23     Page 22 of 41




Connects. Forensic analysis also shows computing activity that took place on November 8, 2022,

i.e., the day before Mr. Beacher gave his two weeks’ notice. On that date, he accessed a large

number of files containing Ring Street’s business information, including files with “invoice” in

the file name, while using the unreturned Kingston DataTraveler 3.0 USB Device. Two file paths

that Mr. Beacher accessed at that time included “My Computer\E:\CC\Blue Oak” and

“E:\CC\Ingram Micro Invoices.”

                                                 69.

        Mr. Beacher and Mr. Sauber are currently competing against Ring Street while in

possession of, using, and/or disclosing — for their own and Cypress Connects’ benefit — Ring

Street’s confidential information and trade secrets, which they unlawfully accessed after their

separation and which they unlawfully transferred before their separation, all in order to unfairly

target and solicit Ring Street’s customers.

                                                 70.

        Further, Ring Street’s third-party forensic analysis revealed other highly suspicious

computing activity about which Ring Street intends to depose Mr. Sauber, including high-level

deletion activity, uploading software to allow remote connections to computers and make bootable

USB drives, as well as access to an Outlook Web Access email account with the username

ssauber@cypressconnects.com that started as early as November 6, 2022.

                                                 71.

        In addition to the foregoing, Ring Street’s ongoing internal audit has revealed that Mr.

Sauber created private communication channels on SharePoint and/or Microsoft Teams so that he

and Mr. Beacher could plan, communicate, and/or share information directly without Ring Street’s

                                                 22


#101200336v20
      Case 2:23-cv-01486-BWA-MBN                  Document 1          Filed 05/03/23         Page 23 of 41




knowledge, even though there appears to have been no legitimate business purpose to have done

so.

                                                        72.

        Most recently, Ring Street discovered (in the week before filing suit) through its ongoing

internal audit that Mr. Sauber and/or Mr. Beacher accessed its HostGator.com platform (another

computer system Ring Street uses to provide IT services), without Ring Street’s authorization,

using credentials provided to them while they were Ring Street employees.

                                                        73.

        Once inside Ring Street’s HostGator.com platform, Mr. Sauber and/or Mr. Beacher

activated a domain for a customer that Ring Street had stopped servicing because the customer

ended its relationship with Ring Street.

                                                        74.

        And even more recently (the week this suit was filed), Ring Street pieced together

additional compelling evidence demonstrating that Mr. Sauber abused his position of IT Director

to engage in, and hide, his unlawful conduct.

                                                        75.

        That is, on October 12, 2022, Mr. Sauber created a new office@ringstreet.net user account

as Ring Street’s SharePoint “admin,” and, around the same time, he changed coding in

SharePoint’s      application      programming        interface     (“API”)      to   add     a    value    called

“user_impersonation”:6


        6
          Though this allegation rests on strong circumstantial evidence, it is worth noting that Mr. Sauber was the
only Ring Street employee who would have had the knowledge and/or reason to create this new user account.

                                                        23


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23     Page 24 of 41




                                                76.

        On December 5, 2022, Mr. Sauber used the new office@ringstreet.net user account to

access customer “run books,” confidential files which are never shared except when a customer

ends its service relationship with Ring Street (at which time such files are provided to the

customer).

                                                77.

        There was absolutely no legitimate business purpose for Mr. Sauber to secretly create a

new user profile and/or to access these “run book” files in the days preceding his separation.




                                                24


#101200336v20
    Case 2:23-cv-01486-BWA-MBN               Document 1      Filed 05/03/23       Page 25 of 41




                                                 78.

        Mr. Beacher and Mr. Sauber have sophisticated training with electronic systems and

maintained positions of trust and confidence with Ring Street, and, as such, they certainly knew

that transferring Ring Street’s information prior to their separations in order to compete against it,

as well as accessing Ring Street’s computer tools following their separation in order to compete

against it, was grossly unethical, and, in fact, unlawful under the circumstances.

                                           RELIEF SOUGHT

                                  COUNTS ONE AND TWO
                                    (Against All Defendants)
                   Violations of the Defend Trade Secrets Act (“DTSA”) and
                       Louisiana Uniform Trade Secret Act (“LUTSA”)

                                                 79.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                                 80.

        Mr. Beacher and Mr. Sauber surreptitiously misappropriated Ring Street’s confidential

business information when they used unreturned external storage devices and/or cloud-based

accounts to transfer information—which is not generally known to the public—from Ring Street’s

Office 365 and SharePoint platforms and retain it for use on behalf of themselves and Cypress

Connects.

                                                 81.

        Mr. Beacher and Mr. Sauber also surreptitiously misappropriated Ring Street’s confidential

business information when they accessed, without authorization, Keeper Security and Ring Street’s



                                                 25


#101200336v20
    Case 2:23-cv-01486-BWA-MBN            Document 1       Filed 05/03/23     Page 26 of 41




YMCS platform (before and after their separations) in order to use information contained therein—

which is not generally known to the public—to directly compete against Ring Street.

                                               82.

        This confidential business information includes trade secrets under the DTSA and LUTSA,

as it consists of valuable pricing information, customer contact information, and detailed product

information on a customer-by-customer basis that, together, is necessary for Ring Street to

maintain a leading market share and competitive advantage. See, e.g., Merrill Lynch, Pierce,

Fenner & Smith, Inc. v. Davis, No. 98-2861, 1998 U.S. Dist. LEXIS 20674, at *3-6 (N.D.Tex.

Dec. 31, 1998); 360 Morg. Grp., LLC v. HomeBridge Fin. Servs., No. 14-00847, 2016 U.S. Dist.

LEXIS 25652, at *13-14 (W.D.Tex. March 2, 2016); Complete Logistical Servs., LLC v. Rulh, 350

F. Supp. 3d 512, 518-19 (E.D.La. 2018); Brock Servs. v. Rogilio, No. 18-867, 2019 U.S. Dist.

LEXIS 231954, at *16-21 (M.D.La. June 17, 2019); MMR Constructors, Inc. v. JB Grp. of LA,

LLC, No. 22-00267, 2022 U.S. Dist. LEXIS 76494, at *8-19 (M.D.La. April 26, 2022).

                                               83.

        Further, the amalgamation of discrete pieces of information into an easy-to-use and

digestible format—which, as examples, Share Point, Keeper Security, and Ring Street’s YMCS

platform provide—is valuable in and of itself, and these computing tools increase Ring Street’s

chances of winning and maintaining business.

                                               84.

        Mr. Beacher and Mr. Sauber used and disclosed Ring Street’s trade secrets to compete

against Ring Street for the benefit of themselves and Cypress Connects, and, considering Mr.




                                               26


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23     Page 27 of 41




Beacher and Mr. Sauber are the owner-members of Cypress Connects, they necessarily did so with

the approval of Cypress Connects and/or their misconduct is imputed to Cypress Connects.

                                               85.

         Upon information and belief, and though Mr. Beacher and Mr. Sauber’s access to the

Keeper Security and the YMCS platform have since been discontinued, Mr. Beacher and Mr.

Sauber have used and continue to use Ring Street’s trade secrets (including those transferred using

Share Point before their separations) by marketing and selling throughout the United States,

including in Louisiana, products and services using Ring Street’s trade secrets, without Ring

Street’s consent, while knowing or having reason to know that such information was acquired by

improper means and/or acquired under circumstances giving rise to a duty to maintain its secrecy

or limit its use.

                                               86.

         In particular—and armed with Ring Street’s playbook—Mr. Beacher, Mr. Sauber, and

Cypress Connects have used Ring Street’s trade secrets to benefit themselves by quickly

establishing a competing entity (while avoiding start-up costs and time delays typically associated

with starting a new business) to solicit and induce actual and prospective customers of Ring Street

to choose or transfer their business to Cypress Connects, including by marginally undercutting

Ring Street’s pricing and using Ring Street’s non-public knowledge of its customers’ unique

needs.

                                               87.

         Misappropriation of Ring Street’s trade secrets and confidential information has allowed

Cypress Connects to start and ramp up operations without having to, inter alia, make substantial


                                                27


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23      Page 28 of 41




and otherwise unavoidable upfront investments in licensing agreements, server space, equipment,

and marketing.

                                                88.

        Ring Street is facing a real threat Mr. Beacher, Mr. Sauber, and Cypress Connects will use,

continue to use, and disclose Ring Street’s trade secrets to benefit themselves to Ring Street’s

detriment. Ring Street therefore has suffered and will continue to suffer irreparable harm that

cannot be measured in precise monetary damages and is entitled to injunctive relief to prevent

further irreparable harm under the DTSA and LUTSA.

                                                89.

        The DTSA allows for a private civil action to be brought by the owner of a misappropriated

trade secret “if the trade secret is related to a product or service used in, or intended for use in,

interstate or foreign commerce.” 18 U.S.C. § 1836(b)(1).

                                                90.

        Ring Street used the misappropriated information to provide services in interstate and

global commerce.

                                                91.

        Ring Street took reasonable steps to maintain the secrecy of the misappropriated

information, namely, information on its computing systems, by limiting its dissemination and by

expressly advising its employees, including Mr. Beacher and Mr. Sauber, that such information is

confidential and not to be disclosed for any purpose other than authorized business for Ring

Street’s benefit.




                                                 28


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                 Document 1    Filed 05/03/23      Page 29 of 41




                                                  92.

        Mr. Beacher and Mr. Sauber knew that the confidential business information they

misappropriated constituted trade secrets and that they were not authorized to possess, use,

disclose, transfer, or retain those secrets following their separation from Ring Street.

                                                  93.

        Cypress Connects likewise knew, or should have known, that the confidential business

information belonging to Ring Street that Mr. Beacher and Mr. Sauber brought with them to

Cypress Connects was taken without authorization and in violation of their confidentiality

obligations to Ring Street that arise as a matter of law.

                                                  94.

        Mr. Beacher, Mr. Sauber, and Cypress Connects engaged in the misappropriation described

above with willful, malicious, and improper motives, and with reckless indifference to Ring

Street’s rights in the information at issue.

                                                  95.

        As a direct and foreseeable result of Mr. Beacher, Mr. Sauber, and Cypress Connects’

misappropriation, Ring Street has suffered irreparable harm, injuries, and damages, and will

continue to suffer irreparable harm, injury, and damages, including but not limited to, loss of

relevant market share, injury to business reputation and goodwill, and attorneys’ fees and costs.

Ring Street is entitled to recover damages, including exemplary damages and attorney’s fees, in

an amount to be established at trial.




                                                  29


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1       Filed 05/03/23     Page 30 of 41




                                          COUNT THREE
                                      (Against All Defendants)
                 Violation of the Louisiana Unfair Trade Practices Act (“LUTPA”)

                                               96.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                               97.

        LUTPA prohibits unfair trade practices, which involve some element of fraud,

misrepresentation, deception, or other unethical conduct.

                                               98.

        Mr. Beacher, Mr. Sauber, and Cypress Connects, have engaged in false, misleading,

deceptive, and/or unethical practices in their unlawful competition with Ring Street.

                                               99.

        Specifically, Mr. Beacher, Mr. Sauber, and Cypress Connects have used and continue to

use Ring Street’s misappropriated confidential and proprietary information, regardless of whether

that information rises to the level of a trade secret, and sabotaged Ring Street’s customer

relationships.

                                               100.

        Mr. Beacher and Mr. Sauber carried out their misappropriation of information by breaching

their duty of loyalty to Ring Street, including by misleading Ring Street about their post-

employment plans, by surreptitiously transferring data prior to their separations, and by accessing

Ring Street’s computing systems, without authorization or exceeding their authorization, both

before and after their separations.


                                                30


#101200336v20
    Case 2:23-cv-01486-BWA-MBN            Document 1         Filed 05/03/23   Page 31 of 41




                                              101.

        These actions have been taken to benefit Mr. Beacher, Mr. Sauber, and Cypress Connects

and to harm Ring Street.

                                              102.

        By virtue of Mr. Beacher and Mr. Sauber’s owner-member status in their new competing

entity, Cypress Connects is aware of, encouraged, and/or engaged in the aforementioned practices,

which has allowed, and continues to allow, Cypress Connects to profit unjustly and to cause Ring

Street to suffer damages.

                                              103.

        The conduct of Mr. Beacher, Mr. Sauber, and Cypress Connects described above and

throughout this Complaint constitutes unfair trade practices under LUTPA. Such conduct offends

established public policy and is immoral, unethical, oppressive, unscrupulous, and substantially

injurious.

                                              104.

        Notice of this Complaint will be sent to the Attorney General pursuant to La. R.S.

§51:1409(B) immediately upon filing.

                                              105.

        Therefore, Ring Street is entitled to treble damages under La. R.S. 51:1409 for any

continued violations of LUTPA, as well as attorneys’ fees.




                                               31


#101200336v20
    Case 2:23-cv-01486-BWA-MBN               Document 1        Filed 05/03/23       Page 32 of 41




                                        COUNT FOUR
                                 (Against Beacher and Sauber)
                          Violation of Computer Fraud and Abuse Act

                                                  106.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                                  107.

        In the days, weeks, and months both before and after their unexpected departures, Mr.

Beacher and Mr. Sauber accessed, transferred, and/or misused proprietary information stored in

Keeper Security, Ring Street’s YMCS platform, and Share Point, i.e. information that is on Ring

Street’s network of electronically stored data.

                                                  108.

        Neither Mr. Beacher nor Mr. Sauber were authorized, during their employment with Ring

Street, to access and obtain this electronic information in order to retain it, disclose it, transfer it,

and/or otherwise use it in competition against Ring Street.

                                                  109.

        And, of course, neither Mr. Beacher nor Mr. Sauber were authorized, after their separation,

to access and obtain this electronic information in order to use it in competition against Ring Street.

                                                  110.

        By improperly accessing and/or transferring electronically-stored information housed in

Ring Street’s computing network, and, in some instances, by improperly deleting data, Mr.

Beacher and Mr. Sauber knowingly, and with intent to harm Ring Street, accessed Ring Street’s

protected computer system without authorization and/or in excess of authorized access.


                                                   32


#101200336v20
    Case 2:23-cv-01486-BWA-MBN              Document 1       Filed 05/03/23      Page 33 of 41




                                                111.

        Ring Street incurred, and continues to incur, significant expenses in discovering and

protecting the information improperly obtained, which have already exceeded $5,000 in a one-

year period.

                                                112.

        Ring Street is thus entitled to all relief available under the CFAA.

                                         COUNT FIVE
                                  (Against Beacher and Sauber)
                                    Breach of Duty of Loyalty

                                                113.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                                114.

        Mr. Beacher, as an Operations and Salesperson, was a highly trusted employee with

significant responsibilities for Ring Street, and he owed duties to Ring Street including duties of

loyalty and fair dealing.

                                                115.

        Mr. Sauber, as IT Directors, was also a highly trusted employee with significant

responsibilities for Ring Street, and he, too, owed duties to Ring Street including duties of loyalty

and fair dealing.

                                                116.

        Nevertheless, both prior to and after their resignations from Ring Street — and in violation

of their statutory and common law duties — they accessed and used confidential information and


                                                 33


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23      Page 34 of 41




trade secrets from Ring Street’s computing network, without authorization, to benefit themselves

and Cypress Connects.

                                                117.

        Mr. Beacher and Mr. Sauber’s deliberate efforts to conceal their plans to compete against

Ring Street, while still employed by Ring Street, as well as their efforts to secretly misappropriate

its protected information and conceal their wrongdoing, while employed by Ring Street and

following their separations, demonstrate a concerning level of bad faith.

                                                118.

        Mr. Beacher and Mr. Sauber knowingly and intentionally — with the intent to benefit

themselves at Ring Street’s expense — breached their duties of loyalty and fair dealing to Ring

Street, and Ring Street has sustained significant damages as a result of their actions. Accordingly,

Ring Street seek damages from Mr. Beacher and Mr. Sauber for their breach of their common law

duties to Ring Street.

                                          COUNT SIX
                                     (Against All Defendants)
                                           Conversion

                                                119.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                                120.

        Mr. Beacher and Mr. Sauber knowingly accessed Ring Street’s computing systems and

used information stored therein without Ring Street’s authorization, knowledge, or consent, and,

in doing so, they violated statutory and/or common law duties.


                                                 34


#101200336v20
    Case 2:23-cv-01486-BWA-MBN              Document 1         Filed 05/03/23   Page 35 of 41




                                                 121.

        The computing systems that Mr. Beacher and Mr. Sauber improperly accessed to

misappropriate the information contained therein includes information that is confidential and

proprietary but may not rise to the level of a trade secret.

                                                 122.

        Mr. Beacher and Mr. Sauber transferred this confidential and proprietary information to

Cypress Connects, and, on information and belief, copied and/or inputted it into documents that

they have created and/or used while working on behalf of Cypress Connect.

                                                 123.

        Upon information and belief, Mr. Beacher and Mr. Sauber have printed this information

and/or stored it on external storage devices in their possession, custody, and/or control, and they

continue to possess this information even though they know that it was taken from Ring Street

without Ring Street’s authorization, knowledge, or consent.

                                                 124.

        Mr. Beacher, Mr. Sauber, and Cypress Connects are improperly using the confidential and

proprietary information they misappropriated in order to compete against Ring Street.


                                                 125.

        Ring Street seeks damages from Mr. Beacher, Mr. Sauber, and Cypress Connects for their

unlawful acquisition, possession, and refusal to return the confidential and proprietary information

that they improperly accessed, retained, and used following their resignations from Ring Street.




                                                  35


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1      Filed 05/03/23      Page 36 of 41




                                        COUNT SEVEN
                                     (Against All Defendants)
                                       Unjust Enrichment

                                               126.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                               127.

        Mr. Beacher and Mr. Sauber accessed, downloaded, uploaded, retained, disclosed, and/or

transmitted Ring Street’s confidential information and trade secrets without authorization and/or

in a manner that exceeded authorization in direct violation of their common law and/or statutory

obligations and to secure, for themselves and Cypress Connects, Ring Street’s customer base,

business strategies, pricing, and product information.

                                               128.

        Mr. Beacher, Mr. Sauber, and Cypress Connects have benefited and profited directly from

their conspiracy to misappropriate Ring Street’s confidential information and trade secrets.

                                               129.

        It would be unfair to allow Mr. Beacher, Mr. Sauber, and Cypress Connects to retain the

enrichment they have unjustly received, and Ring Street would be damaged if they were not

required to pay Ring Street damages for the wrongful possession and use of its confidential

information and trade secrets.




                                                36


#101200336v20
    Case 2:23-cv-01486-BWA-MBN             Document 1        Filed 05/03/23      Page 37 of 41




                                        COUNT EIGHT
                                     (Against All Defendants)
                                           Conspiracy

                                                130.

        Ring Street repeats and re-alleges each and every allegation made in the previous

paragraphs as if fully rewritten herein.

                                                131.

        Mr. Beacher and Mr. Sauber accessed, downloaded, uploaded, disclosed, retained, and/or

transmitted Ring Street’s confidential information and trade secrets with the specific and malicious

intent to unfairly establish a competing entity and poach Ring Street’s customer base.

                                                132.

         Mr. Beacher and Mr. Sauber misappropriated Ring Street’s business strategies, pricing

information, and knowledge of its customers’ needs to unlawfully compete against Ring Street as

employees, members, and owners of Cypress Connects, which is Ring Streets new direct

competitor.

                                                133.

        Mr. Beacher and Mr. Sauber knew about—and encouraged—each other’s unauthorized

access of Ring Street’s computing systems, the subsequent retention and misuse of information

contained therein, as well as the joint plan to profit from this unethical conduct to benefit Cypress

Connects.




                                                 37


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                Document 1    Filed 05/03/23     Page 38 of 41




                                                 134.

        Mr. Beacher and Mr. Sauber acted together to deceive Ring Street and conceal their plans

to compete against, thereby allowing themselves more opportunity to misappropriate Ring Street’s

protected information and jump start a competing entity while still employed by Ring Street.


                                                 135.

        Given the relationship between Mr. Beacher, Mr. Sauber, and Cypress Connects, not only

did Cypress Connects allow itself to knowingly profit from Mr. Beacher and Mr. Sauber’s

unlawful misappropriation and deceptive trade practices, it also aided, abetted, and encouraged

this unlawful competition with the specific intent of harming Ring Street and depriving Ring Street

of its customers and competitive advantage.

                                                 136.

        Thus, Cypress Connects conspired with Mr. Beacher and Mr. Sauber to commit the

unlawful acts described and alleged herein to unlawfully compete against Ring Street and poach

Ring Street’s business for the benefit of Cypress Connects. Mr. Beacher, Mr. Sauber, and Cypress

Connects are therefore liable for conspiracy to intentionally and unlawfully harm Ring Street.

                                                 137.

        Pursuant to La. Civil Code art. 2324(A), Mr. Beacher, Mr. Sauber, and Cypress Connects

are solidarily liable for any and all damages caused by these “intentional and willful” acts of

conspiracy.

                                             JURY DEMAND

                                                 138.

        Ring Street requests a jury trial.

                                                 38


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                  Document 1        Filed 05/03/23      Page 39 of 41




                                           RELIEF SOUGHT

        Ring Street requests a judgment in its favor, and against Mr. Beacher, Mr. Sauber, and

Cypress Connects, awarding a temporary restraining order, preliminary and permanent injunctive

relief, damages, and all other relief to which Ring Street is entitled in law and equity, including,

but not limited to, attorneys’ fees and penalties, whether provided by contract, common law, or

statute, and the following relief:

    1) Entry of a temporary restraining order enjoining Mr. Beacher, Mr. Sauber, and Cypress

        Connects, as well as all entities and persons acting in concert with them, from:

                a. Disclosing, disseminating or using Ring Street’s trade secrets and

                   confidential business information, including, but not limited to, all files (and

                   the information contained therein) that reside on any electronic storage

                   device, cloud-based file repository or file-sharing account, and/or email

                   account used by Mr. Beacher and/or Mr. Sauber during their employment

                   with Ring Street or that are otherwise in their possession, custody, or control

                   during their employment with Ring Street;

                b. Accessing, studying, copying, or taking notes about Ring Street’s trade

                   secrets and confidential business information, including, but not limited to,

                   all files (and the information contained therein) that reside on any electronic

                   storage device, cloud-based file repository or file-sharing account, and/or

                   email account used by Mr. Beacher and Mr. Sauber, or otherwise in their

                   possession, custody, or control;




                                                      39


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                  Document 1       Filed 05/03/23       Page 40 of 41




                c. Destroying, altering, erasing, secreting, or failing to preserve any and all of

                   Ring Street’s trade secrets, business materials, property, proprietary

                   information, confidential information, and/or any and all record or

                   documents that may be relevant to this lawsuit; wherever located, and in

                   whatever form, including but not limited to any document, email, report,

                   software, files, electronic data, tangible evidence, financial records, and any

                   and all communications between Mr. Sauber, Mr. Beacher and/or and any

                   other employee, member, investor, or consultant of Cypress Connects;

                d. Failing to return the information and external storage devices identified in

                   this Verified Complaint, and any other documents/devices that contain Ring

                   Street’s confidential business information; and

    2) Entry of an order that:

                a. grants Ring Street leave to commence expedited discovery immediately in

                   aid of preliminary injunction proceedings before the Court;

                b. requires Defendants, within five days of the Temporary Restraining Order,

                   to provide access to, for forensic imaging and inspection, any and all

                   electronic devices and email accounts that may contain Ring Street’s

                   confidential, proprietary, and trade secret information, including, but not

                   limited to, Mr. Beacher and Mr. Sauber’s personal and work email accounts,

                   any home and work computers, online web-based file sharing accounts

                   (GoogleDrive, One Drive, DropBox, etc.), Blackberrys, iPhones, Android

                   Phones, personal data assistants, memory devices, flash drives and other

                                                     40


#101200336v20
    Case 2:23-cv-01486-BWA-MBN                Document 1      Filed 05/03/23     Page 41 of 41




                   electronic media storage devices, and any computing devices, accounts, and

                   servers belonging to Cypress Connects or that Mr. Beacher and Mr. Sauber

                   can access; and

                c. requires Mr. Beacher and Mr. Sauber to appear for a limited deposition and

                   for Defendants to answer limited written discovery; and

    3) After a preliminary injunction hearing, an order enjoining Mr. Beacher, Mr. Sauber,

        Cypress Connects, and all entities and persons acting in concert with them, from the same

        activities set forth in the Temporary Restraining Order;

    4) After due proceedings conclude, entry of a permanent injunction, an award of damages

        based on all the claims stated herein (actual, compensatory, exemplary, and punitive), other

        such damages as provided by applicable statute or contractual provision, including

        attorneys’ fees, expert fees, costs, and penalties, and any other relief the Court deems

        appropriate.

                                                Respectfully submitted on May 3, 2023.

                                                /s/ Thomas P. Hubert                              .
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                                                   41


#101200336v20
